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 5
       Attorney for Defendant
 6     HODA SAMUEL
 7
 8
 9                            IN THE UNITED STATES DISTRICT COURT
10                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12     UNITED STATES OF AMERICA,           )
                                           )               No. Cr. S-10-223 JAM
13                       Plaintiff,        )
                                           )               STIPULATION AND
14                                         )               ORDER RE: RETURN OF UNITED
                   v.                      )               STATES SAVINGS BONDS TO
15                                         )               DEFENDANT HODA SAMUEL
                                           )
16                                         )
       HODA SAMUEL, et al.,                )
17                                         )
                         Defendants.       )
18     ____________________________________)
19            The United States of America, through Assistant United States Attorney Philip A.
20     Ferrari; and defendant Hoda Samuel, by and through her counsel, Scott L. Tedmon, hereby
21     stipulate and agree as follows:
22            1. On January 18, 2011, United States Magistrate Judge Dale A. Drozd approved
23     defendant Samuel’s international travel to Toronto, Ontario, Canada for the purpose of
24     attending her son’s wedding.
25            2. As a condition of her travel, defendant Samuel was ordered to lodge with the Clerk
26     of the Court her U.S. Savings bonds as security for her trip to Canada. On March 1, 2011,
27     defendant Samuel lodged forty-one (41) one-thousand dollar U.S. Savings bonds as security for
28     her trip to Canada.

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 1            3. The forty-one (41) one-thousand dollar U.S. Savings bonds were ordered to be held
 2     by the Clerk of the Court as security during the time that defendant Samuel traveled to and
 3     returned from Canada. Once defendant Samuel traveled from Canada to the United States, the
 4     forty-one (41) one-thousand dollar U.S. Saving bonds were to be returned to Ms. Samuel.
 5            4. In accordance with the Court’s order, defendant Samuel traveled to Canada for her
 6     son’s wedding on July 14, 2011 and returned to the United States on July 19, 2011. With
 7     defendant Samuel’s trip to Canada completed, the forty-one (41) one-thousand dollar U.S.
 8     Savings bonds are no longer needed for security and should be returned to Ms. Samuel.
 9            5. As such, the government and defendant Samuel stipulate and agree that this Court
10     order the Clerk of the Court to return the forty-one (41) one-thousand dollar U.S. Savings bonds
11     to defendant Samuel or her counsel, Scott L. Tedmon.
12     IT IS SO STIPULATED.
13     Dated: August 26, 2011                        BENJAMIN B. WAGNER
                                                     United States Attorney
14
                                                     /s/ Philip A. Ferrari
15                                                   PHILIP A. FERRARI
                                                     Assistant United States Attorney
16
17     Dated: August 26, 2011                        LAW OFFICES OF SCOTT L. TEDMON
18                                                   /s/ Scott L. Tedmon
                                                     SCOTT L. TEDMON
19                                                   Attorney for Defendant Hoda Samuel
20
21
                                                  ORDER
22
              GOOD CAUSE APPEARING and based on the above stipulation, the Court orders the
23
       Clerk of the Court to return the previously lodged forty-one (41) one-thousand dollar U.S.
24
       Savings bonds to defendant Hoda Samuel, or her counsel, Scott L. Tedmon.
25
       DATED: August 26, 2011
26
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